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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

                                                                 FILED UNDER SEAL

                                                                 No. 4:24-CR-206
                                                                 Judge Mazzant




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 NATHAN TAYLOR (46) §




                            THIRD SUPERSEDING INDICTMENT

 THE UNITED STATES GRAND JURY CHARGES:

                                              Count One

                                                           Violation: 21 U.S.C. § 846 (Conspiracy
                                                           to Possess with the Intent to Manufacture



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                                                          and Distribute and Distribution of
                                                          Methamphetamine)

        That from sometime in or about January 2020, and continuously thereafter up to

and including the date of this Third Superseding Indictment, in the Eastern District of

Texas and elsewhere,




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defendants, did knowingly and intentionally combine, conspire, and agree with each other

 and other persons known and unknown to the United States Grand Jury, to knowingly

 and intentionally possess with the intent to distribute and the distribution of 500 grams or

more of a mixture or substance containing a detectable amount of methamphetamine or


 50 grams or more of methamphetamine (actual).

         In violation of 21 U.S.C. § 846.

            NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

         As a result of committing the offense charged in this Third Superseding

 Indictment, the defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 853,



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all prope ty used to commit or facilitate the offenses, proceeds from the offenses, and

property derived from proceeds obtained directly or indirectly from the offenses,

including but not limited to the following:

        All that lot or parcel of land, together with buildings, improvements, fixtures,

attachments and easements located in Kaufman County, Texas at 7709 FM 2728,

Terrell, Texas 75151, more folly described as PHILLIP WALKER, TRACE 270.00; 5.0

ACRES. Abstract/Subdivision number A0569.

                                                           A TRUE BILL



                                                           GRAND JURY FOREPERSON


ABE MCGLOTHIN, JR.
ACTING UNITED STATES ATTORNEY



 HEATHER RATTAN Date
 Assistant United States Attorney




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                               §        FILED UNDER SEAL

 v.                                                     §        No. 4:24-CR-206
                                                        §        Judge Mazzant
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                                      NOTICE OF PENALTY

                                               Co nt One


Violation: 21 U.S.C. § 846

Penalty: If 500 grams or more of a mixture or substance containing a detectable
                 amount of methamphetamine or 50 grams or more of methamphetamine


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                (actual) - not less than 10 years and not more than life imprisonment, a fine
                not to exceed $10 million, or both; supervised release of at least five years

Special Assessment: $100.00




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